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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

                                   9                                                       ORDER SETTING CHUNGHWA
                                        This Order Relates To:                             SETTLEMENT FAIRNESS HEARING
                                  10                                                       AND TRIAL SETTING HEARING
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          In view of the additional objections and responses invited by Special Master Quinn’s most

                                  14   recent Report and Recommendation (“R&R”), ECF No. 4445 at 7-8, the Court now orders as

                                  15   follows:

                                  16          1.      The R&R contemplates that Special Master Quinn will receive a proposed form of

                                  17   notice and proposed justification concerning the Chunghwa settlement by March 7, 2015 and

                                  18   objections to the same by March 10, 2016. Id. He may then issue a supplemental R&R regarding

                                  19   the Chunghwa plan of allocation. Id. Any party who objects to that supplemental R&R must file

                                  20   an objection within seven days of its issuance. Responses to such objections are due seven days

                                  21   after the objections are due.

                                  22          2.      The deadlines for objections to the R&R approving the Chunghwa plan of

                                  23   allocation (as opposed to the form of notice), ECF No. 4445, as well as the responses to those

                                  24   objections, remain unchanged.

                                  25          3.      A fairness hearing regarding the plan of allocation and form of notice for the

                                  26   Chunghwa settlement is hereby set for April 19, 2016 at 2:00 p.m., in Courtroom 9, 19th Floor, 450

                                  27   Golden Gate Avenue, San Francisco, CA 94102. Counsel for the Indirect Purchaser Plaintiffs are

                                  28   directed to publish notice of this hearing on their CRT claims website.
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                                   1          4.      The Court has previously suggested that a trial setting hearing would be “set for the

                                   2   first available date on the Court’s calendar for civil law motions not fewer than two weeks following

                                   3   the Fairness Hearing for IPP class cases.” ECF No. 4164 at 2. Instead, the Court will hold a trial

                                   4   setting hearing on April 19, 2016, at 2:00 p.m., immediately following the above-described fairness

                                   5   hearing.

                                   6          IT IS SO ORDERED.

                                   7   Dated: March 3, 2016
                                                                                          ______________________________________
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                                                                                                       JON S. TIGAR
                                   9                                                             United States District Judge

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Northern District of California
 United States District Court




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